      Case 4:20-cv-03369 Document 157 Filed on 10/03/22 in TXSD Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

CROWN CASTLE FIBER LLC,                      §
                 Plaintiff,                  §
                                             §
vs.                                          §    CASE NO. 4:20-CV-03369
                                             §
                                             §
CITY OF PASADENA,
                                             §
                            Defendant.
                                             §


          PLAINTIFF’S MOTION FOR RECONSIDERATION AND
                      TO VACATE STAY ORDER


       Plaintiff Crown Castle Fiber LLC (“Crown Castle”) respectfully submits this

Motion for Reconsideration and to Vacate the Court’s Stay Order dated September

26, 2022. Dkt. 156.

       On August 2, 2022, this Court entered a final judgment declaring that certain

provisions of the City of Pasadena’s Design Manual are preempted by the

Telecommunications Act and enjoining the City’s continued enforcement of those

provisions. Dkt. 148.

       The City filed a Notice of Appeal on August 31, 2022. Dkt. 151.

       On September 14, 2022, the City filed its Opposed Motion for Stay Pending

Appeal pursuant to Fed. R. Civ. P. 62(d). Dkt. 153. The City waited until 44 days

after the Final Judgment and two weeks after its Notice of Appeal to file its Motion


                                         1
     Case 4:20-cv-03369 Document 157 Filed on 10/03/22 in TXSD Page 2 of 4




for Stay. The City did not file the Motion for Stay as an “emergency” motion or

otherwise request expedited Court consideration.

       Pursuant to District Court Local Rule 7.3, “opposed motions will be submitted

to the judge 21 days from filing ….” Thus, Crown’s response to the City’s Opposed

Motion for Stay was due on October 6, 2022. Moreover, pursuant to Rule 62(d),

although the City filed a Notice of Appeal, the District Court retained (and still

retains) jurisdiction to determine the City’s motion “while an appeal is pending.”

Fed. R. Civ. P. 62(d); see, e.g., Matter of Miranne, 852 F.2d 805, 806 (5th Cir. 1988)

(“the district court retained jurisdiction to grant appellant’s request for a stay despite

the fact that a notice of appeal to this Court was filed prior to the request for a stay”).

       Although Crown’s response to the City’s Motion for Stay was not yet due,

and although the City did not seek expedited consideration, the Court granted the

City’s Stay Order on September 26, 2022.

       Contemporaneously with this Motion, Crown filed its Response to

Pasadena’s Motion for Stay.

       Crown Castle respectfully requests that the Court consider its Response,

which was timely filed under Local Rule 7.3.1




1
 “While an appeal is pending” the District Court retains jurisdiction to determine whether to vacate
the stay Order, deny the City’s Motion for Stay, and restore its injunction. Fed. R. Civ. P. 62(d);
Matter of Miranne, 852 F.2d at 806.

                                                 2
    Case 4:20-cv-03369 Document 157 Filed on 10/03/22 in TXSD Page 3 of 4




      For the reasons stated in Crown Castle’s Response, Crown Castle requests

that the Court vacate its Stay Order and deny the City’s Opposed Motion for Stay

Pending Appeal.

                                           Respectfully submitted,

                                           BECK REDDEN LLP

                                           By: /s/Jeff M. Golub
                                                  Jeff M. Golub
                                                  Texas State Bar No.
                                                  00793823
                                                  Federal I.D. No. 21606
                                           1221 McKinney, Suite 4500
                                           Houston, Texas 77010-2010
                                           Telephone: (713) 951-3700
                                           jgolub@beckredden.com

                                           ATTORNEYS FOR PLAINTIFF
                                           CROWN CASTLE FIBER LLC

      OF COUNSEL

      Marty Gatens
      Texas State Bar No. 24120844
      Federal I.D. No. 3609810
      mgatens@beckredden.com
      1221 McKinney, Suite 4500
      Houston, Texas 77010-2010
      Telephone: (713) 951-3700




                                       3
    Case 4:20-cv-03369 Document 157 Filed on 10/03/22 in TXSD Page 4 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify a true and correct copy of the foregoing instrument has been
served through the Court’s ECF system on October 3, 2022 on all counsel of record.


                                                   /s/Jeff M. Golub
                                                     Jeff M. Golub




                                        4
